 

 

Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.1 Page1 ,
RECEIPT NUMBER 7% RS |

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UNITED states pistricr court  QRIGINA [

EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JUDGE : Cook, Julian Abel
NEW WORLD AVIATION, INC. DECK : S. Division Civil peck. 0

, fe att DATE : 03/14/200
a New Jersey Corporation, 3 @ 16:13:31
ytorp CASE NUMBER : 2:05cV70990

eee CMP NEW WORLD
Plaintiff, HAWKINS (DA) AVIATION V. LAVAN

Vv.

LA-VAN HAWKINS,
an individual,

Defendant. MAGISTRATE JUDGE R STEVEN WHALEN
/

COMPLAINT FOR BREACH OF CONTRACT, PROMISSORY ESTOPPEL,
QUAST CONTRACT-UNJUST ENRICHMENT, AND ACCOUNT STATED

New World Aviation, Inc., by and through its undersigned counscl, for its Complaint

against La-Van Hawkins, alleges as follows:
JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332, as the
matter in controversy exceeds the sum of $75,000.00, exclusive of interest and costs, and is
between citizens of different states.

2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (a), as
the Defendant resides here, and a substantial part of the cvents or omissions giving rise to the
claims occurred here.

THE PARTIES
3, New World Aviation, Inc. (“New World”), is a corporation organized and existing

under the laws of New Jersey, with its principal place of business at 987 Postal Road, Allentown,

Lehigh County, Pennsylvania, 18109.

 

 
 

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4, Upon information and belief, Defendant La-Van Hawkins (“Hawkins”) is a
citizen of the State of Michigan.

FACTUAL ALLEGATIONS

5. Defendant contracted with New World from on or about December 12, 2002, to
on or about July 19, 2003, (“the term of the Contracts”) for the purchase of New World’s
chartered jet air transportation services and products, including, but not necessarily limited to,
numerous aircraft flights to and from several cities throughout the United States, including
Detroit, in the State of Michigan, limosines to and from the airports, food and beverages on
board the flights, and air telephone services (“air transportation services and products”).

6. During the term of the Contracts, Defendant Hawkins delivered verbal and written
purchase orders, via telephone and facsimile, to New World at New World’s headquarters in
Allentown, Pennsylvania, for air transportation scrviccs and products, for the benefit of the
Defendant.

7. In response to the purchase orders from Defendant, New World’s general practice
was to deliver Defendant a detailed written statement of the requested air transportation serviccs
and products and the anticipated charges (“Quote Sheet”) for the requested services and
products. In reply, Defendant cither confirmed the statements and accepted the anticipated
charges, or modified the requested services and products. In the event that Defendant modified
the requested services and products, New World adjusted the charges accordingly.

8. For each purchase order delivered by Defendant to New World, the parties (a)
agreed on a specific price on an item-by-item basis, or (b) agreed that New World would charge
and Defendant would pay New World’s current rates and prices for the air transportation services

and products that Defendant had ordered.
 

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9, The partics agreed that Defendant would pay New World within 30 days (i.c.,
“net 30”) from the date of New World’s Invoices, plus 1.5% tn interest per month on amounts
due and not paid within the 30 days,

10. Defendant placed numerous purchase orders for air transportation services and
products with New World during the term of the Contracts, for the benefit of Defendant, who
was a passenger on all of the chartered aircraft flights operated by New World.

Il, Defendant was the recipient of the benefits of all of the air transportation services
and products rendered by New World in consideration of, and in reliance upon, the Defendant’s
promises to pay for the services and products,

12. New World tssued Invoices to Defendant that listed the air transportation services
and products that it had rendered and that Defendant had received the benefit of, and also listed
the charges that Defendant agreed to pay for the services und products, (Exhibits A though N).

13. New World has demanded payment in writing, but Defendant has failed to pay the
amounts that remain due and owing to New World for the air transportation services and
products that it rendered to Defendant during the term of the Contracts.

14, The balances of the amounts due and owing by Defendant to New World for air
transportation services and products, as stated in New World Invoices delivered to Defendant,
are as follows:

i $10,518.00 per Invoice No. 15427, dated April 24, 2003 und duc May 24, 2003,

for services and products delivered on April 23 — 24, 2003. The original invoice was

issued in the amount of $23,649.13. Part of that amount has becn paid, with the

outstanding balance being $10,518.00;
 

 

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b, $13,813.16 per Invoice No. 15448, dated April 29, 2003 and due May 29, 2003,
for services and products delivered on April 29, 2003;

Cc. $4,878.35 per Invoice No. 15463, dated April 30, 2003 and duc June 5, 2003, for
services and products delivered on April 2-6, 2003;

d. $4,550.00 per Invoice No. 15492, dated May 13, 2003 and due June 12, 2003, for
services and products delivered on May 8 - 12, 2003. The original invoice was issued in
the amount of $44,814.40, Part of that amount has been paid, with the outstanding
balance being $4,550.00;

c. $373.96 per Invoice No. 15595, dated May 14, 2003 and due June 13, 2003, for
services and products delivered on May 8 — 12, 2003;

f. $25,808.53 per Invoice No. 15548, dated May 26, 2003 and duc June 25, 2003,
for services and products delivered on May 25 — 27, 2003;

g. $327.86 per Invoice No. 15562, dated May 28, 2003 and duc June 27, 2003, for
services and products delivered on April 2 ~ 6, 2003;

h, $242.57 per Invoice No. 15558, dated May 28, 2003 and duc June 27, 2003, for
services and products delivered on April 23 — 24, 2003;

I. $55,268.41 per Invoice No. 15591, dated Junc 3, 2003 and duc July 3, 2003, for
services and products delivered on May 29 — June 3, 2003;

j. $188.70 per Invoice No. 15656, dated June 20, 2003 and duc July 20, 2003, for
services and products delivered on May 29 — June 3, 2003;

k. $50.47 per Invoice No. 15657, dated June 20, 2003 and due July 20, 2003, for

services and products delivered on May 8 — 12, 2003;
 

 

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I. $42,981.13 per Invoice No. 15679, dated June 24, 2003, and due July 24, 2003,

for services and products delivered on June 20 — 24, 2003;

m. $24,543.35 per Invoice No. 15722, dated July 8, 2003 and duc August 8, 2003,

for services and products delivered on July 5 — 7, 2003;

n. $30,501.59 per Invoice No. 15795, dated July 19, 2003 and duc August 18, 2003,

for services and products delivered on July 17 - 19, 2003.

15. Truc and accurate copics of New World’s Invoices, in paragraph 14 a, though n.
of this Complaint, are attached as Exhibits A through N and are incorporated herein (“Invoices”).

16. A true and correct copy of an account statement summarizing the New World
Inveices and the amounts that Defendant owes and has not paid to New World is attached as
Exhibit O and is incorporated herein (“Account Statement”). The unpaid total sum of the New
World Invoices is approximately $214,046.00, plus interest at the rate agreed upon, namely,
1.5% per month on amounts duc and not paid within the 30 days from the date of New World’s
invoices,

17, Defendant has not claimed that the air transportation services and products for
which payment is due and owing was not delivered to him, and he has not objected to the
charges or the amounts of the outstanding balances.

PRIOR PROCEEDINGS

18. | New World has previously sought to recoup the sums at issuc in this Action by
judicial process. New World filed suit in this Court in Case No. 03-74565 (BAF) on November
13, 2003, against Defendant and La-Van Hawkins Food Group, LLC (“Food Group”). New
World was able to serve Food Group, but despite its best efforts, New World was never able to

locate and serve Defendant.
 

 

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19. Food Group never answered New World’s Complaint, and the Court entered a
default judgment against Food Group on April 28, 2004. To date, New World has been unable to
execute that judgment. Because New World was unable to serve Defendant within 120 days, the
cuse was eventually closed.

COUNT I
BREACH OF EXPRESS CONTRACTS

21, | New World incorporates Paragraphs 1 through 19 of this Complaint as if set forth
herein.

22, Defendant expressly contracted with and agreed to pay New World for air
transportation services and products.

23. New World, in consideration of the promises of Defendant to pay, performed the

Contracts with the Defendant by providing the requested services and products.

94, Defendant has failed to pay New World and has thereby materially breached
express Contracts with New World.

25, Defendant’s material breaches of express Contracts with New World have
damaged New World in the amounts stated in the Invoices and the Account Statement attached
hereto as Exhibits A through O, and in the total sum of approximately $214,046.00, plus interest
and the legal fees and costs of this action.

COUNT II
BREACH OF IMPLIED CONTRACTS
26. | New World incorporates Paragraphs 1 through 25 of this Complaint as if set forth

herein.
 

 

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27. Defendant impliedly contracted with and agreed to pay New World for air
transportation services and products by requesting and accepting such services and products.

28. | New World, in consideration of the implicd promises of Defendant to pay,
performed the Contracts with the Defendant by providing the requested services and products.

29. Defendant has failed to pay New World and has thereby materially breached his
implied Contracts with New World.

30.  Defendant’s material breaches of implicd Contracts with New World have
damaged New World in the amounts stated in the Invoices and the Account Statement attached
hereto as Exhibits A through O, and in the total sum of approximately $214,046.00, plus interest
and the legal fees and costs of this action.

COUNT III
PROMISSORY ESTOPPEL

31. | New World incorporates Paragraphs | through 30 of this Complaint as if sct forth
fully herein.

32.  Defendunt represented and gave promises, expressly and impliedly, to New World
that he would pay New World its charges for the air transportation services and products that the
Defendant requested.

33. Defendant intended for New World to rely upon his representations and promises
concerning payment for the services and products that New World rendered to the Defendant.

34, In reliance on Defendant's representations and promises, New World provided the

requested valuable air transportation and services.
 

 

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35. It was reasonable for New World to rely upon Defendant’s representations and
promises to pay for the services and products, and New World did in fact rely upon the
representations and promises of Defendant to New World’s detriment and harm.

306. Defendant is now estopped from denying that he owe the sums in the Invoices and
the Account Statement, attached hercto as Exhibits A through O, to New World, and which
amount to the total sum of approximately $214,046.00, plus interest and the legal fecs and costs
of this action.

COUNT IV
QUASLCONTRACTS-UNJUST ENRICHMENT

37. | New World incorporates Paragraphs | through 36 of this Complaint as if sct forth
fully herein.

38. New World delivered valuable air transportation services and products to
Defendant, which the Defendant requested, accepted, and enjoyed the benefits of.

39. The charges set forth in the Invoices and the Account Statement, Exhibits A
through O, ure fair and reasonable charges for the air transportation services and products New
World delivered to Defendant.

40. The Defendant has been unjustly enriched by his failure to pay New World for the
valuable services and products that New World delivered and that the Defendant accepted and
enjoyed the benefits of.

41. Defendant has been unjustly enriched in the amounts stated in the Invoices and
the Account Statement, attached hereto as Exhibits A through O, and which amount to the total

sum of upproximately $214,046.00, plus interest and the legal fees and costs of this action.
 

 

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COUNT V
ACCOUNT STATED

42. New World incorporates Paragraphs | through 41 of this Complaint as if set forth
fully herein.

43. Defendant maintained an open account with New World whereby Defendant
would request New World to provide air transportation services and products at the prices set
forth in the Invoices and the Account Statement attached as Exhibits A through O.

44, | New World demanded payment from Defendant for payment of its outstanding
Invoices.

45. Defendant has not denied that the services and products were delivered and that
he accepted and enjoyed the benefits thereof, and Defendant has not objected to the charges
described in Exhibits A through O.

46. Defendant has neglected, failed and/or refused to pay any of the sums due and
owing New World as reflected in the Invoices.

47, | The charges described in Exhibits A through O, for services and products
rendered by New World, constitute an account stated against Defendant.

48. | The amounts of the account stated for which Defendant is liable to New World
are shown in the Invoices and the Account Statement, attached hereto as Exhibits A through 0,
und which amount to the sum of approximately $214,046.00, plus interest and the legal fees and
costs of this action.

PRAYER FOR RELIEF
WHEREFORE, New World demands judgment against Defendant in the amounts that

are listed in paragraph 14 a. through n. of this Complaint, the sum of which is $214,046.00, and
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(a) interest on the outstanding balance of cach Invoice ut the rate of 1.5% per

month from the due date of cach Invoice through the date of judgment;

(b) interest on the judgment amount at the Iegul rate (6% per annum) from the

date of judgment through the date of payment;

(c) the costs and fees associated with this action; and

(d) such other relief as the Court deems just and appropriate.

Dated: March 14, 2005

10

Respectfully submitted,

WAJTON & DONNELLY, P.C,

    
  

 

 
  
 

J naan T. Wilton, 3#(P32969)
1550 Buhl Building

35 Griswold Strect

Detroit, MI 48226

313) 963-8989

Attorneys for Plaintiff,

New World Aviation, Inc.

OF COUNSEL:

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Matthew F, Scarlato
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1001 Pennsylvania Ave., NW
Washington, DC 20004
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202-628-5116 (fax)

ATTORNEYS FOR PLAINTIFF,
NEW WORLD AVIATION, INC.
 

 

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877.359.0100 » USA 610.231.9555 + Fax 610.231.9566 - Maint.Fax 610.231.8768

. “y , Invoice
2" New World Aviation DATE —_|_ INVOICE #
4/24/2003 15427
TERMS DUE DATE
BILL TO Net 30 3/24/2003
La-Van Hawkins Food Group REF# 104230321
607 Shelby St., Suite 200
Detroit, MI 48226 x
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
GITB/N211SJ 04/23/03-04/24/03 DET/BWI/DET/MDW
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Flight Time Charges 5.4 3,500.00 18,900.00T
Customer Service Representative 2 350.00 700.00T
Crew Overnight Expenses l 825.00 825.00T
Landing Fees 625.00 625,00T
FAA Passenger Segment Fee (Per Passenger and 5 3.00 15.00
Per Leg)
Ground Transportation 639.36 639.36
Catering 366,02 366,02
Federal Excise Tax 7.50% 1,578.75
Thank you for flying New World Aviation, Inc. .
We look forward to serving you again. Total $23,649.1 ?
Any extraordinary charges not included above
(Catering, International Fees, Sky Phone, etc.) will
be billed when invoices are received.
A 1.5% fee will be added for any invoices that are
not paid within terms,
www.newworldaviation.com
987 Postal Road - Allentown, Pa. 18109 - 9585

 

 
 

 

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Invoice
wo 4s DATE INVOICE #
New World Aviation .
4/29/2003 15448
TERMS DUE DATE
\

BILLTO Net 30 5/29/2003
La-Van Hawkins Food Group REF# T042903M1
607 Shelby St., Suite 200
Detroit, MI 48226

AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
GIIB/N305SJ 04/29/03 MDW/DET

DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Flight Time Charges 3.4 3,500.00 11,900.00T
Customer Service Representative 1 350.00 350.00T
Landing Fees 300.00 300.00T
FAA Passenger Segment Fee (Per Passenger and 1 3.00 3.00
Per Leg)
Ground Transportation 226.56 226.56
Catering 92.35 92.35
Federal Excise Tax 7.50% 941,25
Thank you for flying New World Aviatio , Inc.

look ferent one ine Total Due $13,813.16

We look forward to serving you again,

Any extraordinary charges not included above
(Catering, International Fees, Sky Phone, etc.) will
be billed when invoices are received.

A 1.5% fee will be added for any invoices that are
not paid within terms,

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877.359.0100 + USA 610.231.9555 +» Fax 610.231.9566 » Maint.Fax 610.231.8768

 

 

 

 
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sen Invoice
New World Aviation DATE INVOICE #
4/30/2003 15463
TERMS DUE DATE
SLL TO Net30 | 6/5/2003
La-Van Hawkins Food Group REF# T040203M1
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFTI/TAIL NUMBER TRIP DATES ROUTING

 

 

 

 

 

 

 

 

 

GIIB/N305SJ 04/02/03-04/06/03 PDK/LAX/SDL/DET/LGA/MDW/DET
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Ground Transportation 550.40 550.40
Deicing 4,026.00 4,026.00T
Transportation & Deicing charges not billed on
original invoice.
Federal Excise Tax 7.50% 301.95
Thank you for flying New World Aviation, Inc.

‘ ven Total Due $4,878.35

We look forward to serving you again.

Any extraordinary charges not included above

(Catering, International Fees, Sky Phone, etc.) will

be billed when invoices are reccived.,

A 1.5% {ce will be added for any invoices that are
not paid within terms.

www.newworldaviation.com
987 Postal Road - Allentown, Pa. 18109 - 9585
877.359.0100 + USA 610.231.9555 + Fax 610.231.9566 + Maint.Fax 610.231.8768

 

 

 

 
 

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We look forward to serving you again.

Any extraordinary charges not included above
(Catering, International Fees, Sky Phone, etc.) will
be billed when invoices are recetved,

A 1.5% fee will be added for any invoices that are
not paid within terms.

www.newworldaviation.com

 

be. Invoice
eect aN AREER —
New World Aviation DATE INVOICE #
5/13/2003 15492
TERMS DUE DATE
BILL TO b Net 30 6/12/2003
La-Van Hawkins Food Group REF# T05080321
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
GIB/N211SJ 05/08/03~05/12/03 DET/LGA/DET/MDW/DTW/PDK
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Flight Time Charges 8.7 3,500.00 30,450,00T
Minimum Daily Fee 1.3 3,500.00 4,550.00T
Customer Service Representative 5 350.00 1,750.00T
Crew Overnight Expenses 4 825.00 3,300.00T
‘| Landing Fees 1,350.00 1,350.00T
FAA Passenger Segment Fee (Per Passenger and 9 3.00 27,00
Per Leg)
Ground Transportation 176.93 176.93
Catering 105.47 105.47
Federal Excise Tax 7.50% 3,105.00
Thank you for flying New World Aviation, Inc.
‘ Fen Total Due $44,814.40

 

KO he #

987 Postal Road - Allentown,Pa, 18109 - 9585

877.359.0100 » USA 610.231.9555 + Fax 610.231.9566 + Maint.Fax 610.231.8768

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New World Aviation

 

BILL TO

 

 

 

La-Van Hawkins Food Group
607 Shelby St., Suite 200
Detroit, MI 48226

 

 

 

 

 

 

Invoice
DATE | INVOICE #
5/14/2003 15595
TERMS DUE DATE
Net 30 6/13/2003
REF# 705080321

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
GIIB/N211SJ 05/08/03-05/12/03 DET/LGA/DET/MD W/DTW/PDK
DESCRIPTION QUANTITY RATE ANIOUNT
Lead Passenger: Mr. La-Van Hawkins
Catering 373.96 373.96
Catering not billed on original invoice.
Thank you for flying New World Aviation, Inc.
We look forward to serving you again. Total Due $373.96

Any extraordinary charges not included above

(Catering, International Fees, Sky Phone, etc.) will

be billed when invoices are received.

A 1.5% fee will be added for any invoices that are

not paid within terms.

 

 

 

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987 Postal Road + Allentown, Pa. 18109 - 9585 ™
877.359.0100 +» USA 610.231.9555 + Fax 610.231.9566 « Maint.Fax 610.231.8768
 

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Any extraordinary charges not included above

(Catering, International Fees, Sky Phone, ctc.} will

be billed when invoices are received.

A 1.5% fee will be added for any invoices that are

not paid within terms.

www.newworldaviation.com .

 

<=" New World Aviation pave jee
5/26/2003 15548
TERMS DUE DATE
BILLTO Net 30 6/25/2003
La-Van Hawkins Food Group REFi# T052503D1
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
GII/N400D 05/25/03-05/27/03 DET/PDK/DET
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Flight Time Charges 5 3,400.00 17,000.00T
Minimum Daily Fee 1 3,400.00 3,400.00T
Customer Service Representative 3 350.00 1,050.00T
Crew Overnight Expenses 2 825.00 1,650.00T]
Landing Fees 400.00 400,00T
FAA Passenger Segment Fee (Per Passenger and 2 3.00 6.00
Per Leg)
Ground Transportation 390.04 390.04
Catering 149.99 149.99
Federal Excise Tax 7.50% 1,762.50
Thank you for flying New World Aviation, Inc. .
We look forward to serving you again. Total Due $25,808.53

 

987 Postal Road » Allentown, Pa. 18109 - 9585

877.359.0100 » USA610.231.9555 - Fax 610.23119566 » Maint.Fax 610.231.8768

 

 
 

 

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"ec | ae INV
2” ~New World Aviation pare OIE #
° 5/28/2003 15562
TERMS DUE DATE
BILL TO Net 30 6/27/2003
La-Van Hawkins Food Group REF# T040203M1
607 Shelby St, Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING

 

 

 

 

 

 

 

 

 

GIIB/N305SJ 04/02/03-04/06/03 PDK/LAX/SDL/DET/LGA/MDW/DET
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Sky Phone Charges 327.86 327.86
Thank you for flying New World Aviation, Inc.
Tota! $327.86

We look forward to serving you again.

Any extraordinary charges not included above

(Catering, International Fees, Sky Phone, etc.) will

be billed when invoices are received.

A 1.5% fee will be added for any invoices that are

not paid within terms.

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877.359.0100 + USA 610.231.9555 - Fax 610.231.9566 + Maint.Fax 610.231.8768

 

 

 

 
 

 

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_ , Invoice
eee 2 ee
New World Aviation DATE INVOICE #
§/28/2003 15558
TERMS DUE DATE
BILL TO t Net 30 6/27/2003
La-Van Hawkins Food Group REF# 104230321
607 Shelby St., Suite 200
Detroit, MI 48226
AIRGRAFT/TAIL NUMBER TRIP DATES ROUTING
GIHB/N211SJ 04/23/03-04/24/03 DET/BWI/DET/MDW
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Sky Phone Charges 242,57 242,57
Thank you for flying New World Aviation, Inc.
nank you for flying New Wor. iation, Inc Total Due $242.57

We look forward to serving you again.

Any extraordinary charges not included above

(Catering, International Fees, Sky Phone, etc.) will

be billed when invoices are received.

A 1.5% fee will be added for any invoices that are

not paid within terms.

www. newworldaviation.com

 

 

987 Postal Road + Allentown, Pa. 18109 - 9585:
877.359.0100 » USA 610.231.9555 + Fax 610.231.9566 - Maint.Fax 610.231.8768

 

 

 
 

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Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.27 Page 27 of 42

 

 
 

Case 2:05-cv-70990-BAF-WC ECF No

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.1 filed 03/14/05 PagelD.28 Page 28 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oo Invoice
cast hte
New World Aviation DATE INVOICE #
6/3/2003 15591
TERMS DUE DATE
BILL TO Net 30 7/3/2003
La-Van Hawkins Food Group REF# T05290321
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP BATES ROUTING
GIIB/N21 1S] 05/29/03-06/03/03 DTW/LGA/DET/CAE/DT W/DET
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Flight Time Charges 7.8 3,500.00 27,300.00T
Minimum Daily Fee 4.2 3,500.00 14,700.00T
Customer Service Representative 6 350.00 2,100.00T
Crew Overnight Expenses 5 825.00 4,125.00T
Landing Fees 1,600.00 1,600.00T
FAA Passenger Segment Fee (Per Passenger and 9 3.00 27.00
Per Leg)
Ground Transportation 393.28 393,28
Catering 1,286.25 1,286.25
Federal Excise Tax 7.50% 3,736.88
Thank you for flying New World Aviation, Inc.
* ow Total Due $55,268.41

We look forward to serving you again.

Any extraordinary charges not included above
(Catering, International Fees, Sky Phone, etc.) will
be billed when invoices are received.

A 1.5% fee will be added for any invoices that are
not paid within terms.

www.newworldaviation.com

 

 

 

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Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.29 Page 29 of 42
 

 

Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.30 Page Woice

DATE INVOICE #

 

 

 

 

"New World Aviation
6/20/2005 15656
TERMS DUE DATE
Net 30 7/20/2003

 

 

 

 

BILL TO
La-Van Hawkins Food Group "

607 Shelby St., Suite 200
Detroit, MI 48226

REF# T05290321

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
GHB/N2115J 05/29/03-06/03/03 DTW/LGA/DET/CAE/DTW/DET
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Sky Phone Charges 188.70 . 188.70
Thank you for flying New World Aviation, Inc. ,
We look forward to serving you again. Total Due $188.70

 

 

 

Any extraordinary charges not included above
(Catering, International Fees, Sky Phone, etc.) will
be billed when invoices are received.

A 1.5% fee will be added for any invoices that are
not paid within terms.

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877.359.0100 - USA 610.231.9555 + Fax 610,237/9566 + Maint.Fax 610.231.8768
 

Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.31 Page 31 of 42
 

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ae" New World Aviation DATE | INVOICE #
6/20/2003 15657
TERMS DUE DATE
BILL TO Net 30 7/20/2003
La-Van Hawkins Food Group REF# T05080321
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
GIIB/N211SJ 05/08/03-05/12/03 DET/LGA/DET/MDW/DTW/PDK.
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Sky Phone Charges 50.47 50.47
Thank you for flying New World Aviation, Inc.
‘ en Total Due $50.47

We look forward to serving you again.

Any extraordinary charges not included above

(Catering, International Fees, Sky Phone, etc.) will

be billed when invoices are received.

A 1.5% fee will be added for any invoices that are

not paid within terms.

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877.359.0100 + USA 610.231.9555 + Fax 610.231.9566 - Maint.Fax 610.231.8768

 

 

 

 
 

Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.33 Page 33 of 42
 

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PagelD.34 Page 34 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

We look forward to serving you again.

Any extraordinary charges not included above

(Catering, International Fees, Sky Phone, etc.) will:

be billed when invoices are received.

A L.5% fee will be added for any invoices that are
not paid within terms.

 

> Invoice
3" New World Aviation DATE __j_ INVOICE #
6/24/2003 15679
TERMS DUE DATE
BILL TO \ Net 30 7/24/2003
La-Van Hawkins Food Group — REF# T062003R1
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
Challenger G00/NIIGRA | 06/20/03-06/24/03 Sec Below
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr, La-Van Hawkins
Routing: |
DET/CVG/IMDW/BKL/CVG/MD W/DET/LGA/H
PN/LGA/DET
Flight Time Charges 9.7 3,250.00 31,525.00T
Minimum Daily Fee 0.3 3,250.00 975.00T
Customer Service Representative 5 350.00 1,750.00T
Crew Overnight Expenses 4 825.00 3,300.00T
Landing Fees | 1,700.00 1,700.00T
FAA Passenger Segment Fee (Per Passenger and $7 3.00 171.00
Per Leg)
Catering 616.38 616.38
Federal Excise Tax 7.50% 2,943.75
Thank you for flying New World Aviation, Inc. .
Total Due $42,981.13

 

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877.359.0100 - USA 610.231.9555 - Fax 610.231.9566 + Maint.Fax 610.231.8768

 

 
 

 

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filed 03/14/05 PagelD.36 Page 36 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Any extraordinary charges not included above

(Catering, Intemational Fees, Sky Phone, etc.) will

be billed when invoices are received,

A 1.5% fee will be added for any invoices that are
not paid within terms.

 

 

Invoice
=" New World Aviation pare INVOICE #
7/8/2003 15722
TERMS DUE DATE
BILL TO Net 30 8/7/2003
La-Van Hawkins Food Group REF# TO70503R1
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
Challenger 600/NI16RA | —07/05/03-07/07/03 DET/PDK/DET
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Flight Time Charges 5 3,250.00 16,250.00T
Minimum Daily Fee I 3,250.00 3,250.00T
Customer Service Representative 3 350.00 1,050.00T
Crew Ovemight Expenses 2 825,00 1,650.00T
Landing Fees 400.00 400.00T
FAA Passenger Segment Fee (Per Passenger and 4 3.00 12.00
Per Leg)
Ground Transportation 181.04 181.04
Catering 55.31 55.31
Federal Excise Tax 7.50% 1,695.00
Thank you for flying New World Aviation, Inc. . .
We look forward to serving you again. Total Due $24,543.35

 

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987 Postal Road + Allentown, Pa, 18109 - 9585
877.359.0100 » USA 610.231.9555 » Fax 610.231.9566 » Maint.Fax 610.231.8768

 

 
 

 

Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.37 Page 37 of 42
 

 

  
 
 

 

 

 

 

 

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We look forward to serving you again.

Any extraordinary charges not included above

(Catering, {International Fees, Sky Phone, etc.) will

be billed when invoices are received.

A 1.5% fee will be added for any invoices that are
not paid within terms,

www. newworldaviation,com :
987 Postal Road + Allentown, Pa. 18109 - 9585
877.359.6100 - USA 610.231.9555 + Fax 610.231.9566 - Maint.Fax 610.231.8768

 

Invoice
"New World Aviation DATE | INVOICE if
7/19/2003 15795
TERMS DUE DATE
\
BILL TO ~: Net 30 8/18/2003
La-Van Hawkins Food Group REF# T071703R1
607 Shelby St., Suite 200
Detroit, MI 48226
AIRCRAFT/TAIL NUMBER TRIP DATES ROUTING
Challenger GO0/NI16RA | 07/17/03-07/19/03 DET/SDF/LGA/SDF/DET
DESCRIPTION QUANTITY RATE AMOUNT
Lead Passenger: Mr. La-Van Hawkins
Flight Time Charges 7.1 3,250.00 23,075.00T
Customer Service Representative 3 350.00 1,050.00T
Crew Overnight Expenses 2 825.00 1,650.00T
Lariling Fees 1,000.00 1,000.00T
FAA Passenger Segment Fee (Per Passenger and 9 3.00 27.00
Per Leg)
Ground Transportation 1,539.84 1,539.84
Catering 151.62 151.62
Federal Excise Tax 7.50% 2,008.13
Thank you for flying New World Aviation, Inc.
Total Due $30,501.59

 

 

 

 
 

 

   

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Case 2:05-cv-70990-BAF-WC ECF No.1 filed:03/14/05 PagelD.41 Page 41 of 42 crema’
JS 44 11/99 CIVIL COVER SHEET county tn wuich THs action anose:___ Wayne |

Tho JS-44 civil covor sheet and the information contained herein naither replace nor supplement the filing and service of ploadings or other papers as required »

by law, axcept as provided by local rules of court. This form, approved by the Judicial Conference of the United Statas in Septamber 1974, is required

for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. A {

I. (a} PLAINTIFFS O56" mn ben
NEW WORLD AVIATION, INC.

Wayne

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(b) County of Rasidence of First Listad: Leh g h Co 5 Y : County of Residence of First Listed
> S a NOTE: JN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

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(c} Attorneys (Name, Address and Talephone Number) ee tlt we

WALTON & DONNELLY, P.C. a ye

By: Jonathan T. Walton, Jr. (P32969) SISTRATESC HANS REE
535 Griswold Street, 1550 Buhl Buildi > 0940)

Detroit, MI 48226 (313) 963-8989

 

il, BASIS OF JURISDICTION — (Place an °X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Pisce an "X" In Gne Box for Plaintif
(For Diversity Cases Only) and One Box for
PI PLA DEF
0 1 U.S. Government O 3 Federal Question itizen of This State 1 4K) Incorporated or Principal-_ O 4 O
Plaintiff (U.S. Government Not a Party) of Business in This State
O 2 U.S. Government XX 4 Diversity itizen of Another O 2 2 = Incorporated and Principal. + oO
Defendant (Indicate Citizenship of Parties of Business In Another S
‘ in Itern Jl}
Citizen or Subjactof O 3 O13 _ Foreign Nation Os QO
Foreign Country

 

 

IV. NATURE OF SUIT (Place an "X" in One Box Only}

 

 

 

 

 

 

 
  

 

 

 

 

 

 

 

 

 

   

 

 

 

 

CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
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O 120 Marine O 310 Airplana OQ 362 Personal Injury |O 620 Other Food & Drug O 410 Antitrust
O 130 Miller Act Cl 316 Aleplane Product Med. Malpractica | 9626 Drug Related Selzure | 423 Withdrawal 0 430 Banks and Banking
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Overpayment and 3206 Assault, Libel o a quor Laws 460 Deportation
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of Judgment 368 eee i 640 RR, & Truck PROPERTY RIGHTS oO 470 Racketeer Influenced &
OD 451 Medicare Act O 330 Federal Employers’ Lability © 660 Airline Regs. mn a20¢ Corrupt Organizations
5 152 Recovery of Defaulted + Unbliity 660 Occupational Oo 830 copyrights O 810 Selective Service
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health CO 840 Trademark O 850 Securitiea/Commoditiass
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C3 139 Recovery of Overpayment Liability, O 371 Truth in Lending O 876 Customer Challange
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100 Stockholders’ Suits | 355 Motor Vehicle Property Damage O 891 Agriculturat Acts
190 Other Contract Product Liability O 385 Property Damage Oo 710 re Lebar Standards 5 oO Black Lang (823) » 10) 892 Economic Stabilization Act
Contract Product Llablilty] 2 360 Poe, Personal. Product Liability 720 Labor/Mgmt. 1 863 pIWC/DIWW i40sigl) © 893 Environmental Matters
Relations 0 894 Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS O 864 SSID Title XVI O 895 Eros dtm of
CO 780 Labor/Mgmt.Reporting]O 865 RSI (405igh) int tion Act
210 Land Condemnation |O 441 Voting CD 610 Motions to Vacate & Disclosure Act 0 909 Appesl of Fee c
229 Foreclosure 0) 442 Employment Sentence O 740 Railway Labor Act |_. FEDERAL TAX SUITS Determination Under,
O 230 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: . Equal Access to Justice
0 246 Torts to Land Accommodations |0 630 General O 790 Other Labor co 870 Taos (Us Feintitt O 950 Constitutlonatity of
O 246 Tort Product Liability] 444 Welfare O 6365 Death Penalty _ Litigation " State Statutes ¥
O 290 All Other Real Propenty|O 440 Other Civil Rights|O 540 Mandamus & Other [0 7971 Emopt, Ret. inc. C1 871 IRS—Third Party C) 890 Other Statutory Actions
0 §60 civil Rights Security Act 98 USC 7609
O 5655 Prison Condition
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Proceeding State Court Appellate Court Reopened 8 Litigation Judgment

 

(Cite the U.S, Civil Statute under which you are filing and write brief statement of cause.
VI. CAUSE OF ACTION Do not cite jurisdictional statutes unless diversity.)

28 USC Section 1332 Breach of Contract.

VH. REQUESTED IN CO) CHECK {Ff THIS IS A GLASS AC DEMAND pos one00 CHECK YES only if démanded in Camplaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: OYes No
Vill. RELATED CASE(S) °° ~ —————— Zo

instructions}:

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iF ANY super) DOCKET NUMBER

DATE och 14, 2005 ee atypris OF RECQAD

Jonathan T. Walton, Jr. (P32969)

 

 
  

Q3-74565

 

 
 

 

Case 2:05-cv-70990-BAF-WC ECF No.1 filed 03/14/05 PagelD.42 Page 42 of 42

PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed?

if yes, give the following information:

court: US District Couct -
caseNo:___ 03 - WSS

Judge: Perna k Pred Ma

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any
other court, including state court? (Companion cases are
matters in which it appears substantially similar evidence wil
be offered or the same or related parties are present and the
cases arise out of the same transaction or occurrence.)

 

If yes, give the following information:

Court: || 8 District Couuct
Case No.: | O34 ~ 4 AD
Judge: Pornane A Siednan

Notes:

 
